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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

    In re:                                                     Chapter 11

    MOUNTAIN SPORTS LLC, et al.,1                              Case No. 24-11385 (MFW)

                        Debtors.                               (Jointly Administered)

                                                               Related to Docket No. 116


    ORDER (I) APPROVING BIDDING PROCEDURES FOR THE SALE OF THE
 DEBTORS’ ASSETS, (II) APPROVING THE FORM AND MANNER OF NOTICE OF
THE SALE AND BID DEADLINES, (III) AUTHORIZING THE DEBTORS TO SELECT
  A STALKING HORSE BIDDER AND ENTER INTO A PURCHASE AGREEMENT
   WITH SUCH BIDDER PROVIDING FOR CERTAIN BID PROTECTIONS, (IV)
 APPROVING (A) PROCEDURES FOR THE ASSUMPTION AND ASSIGNMENT OF
 EXECUTORY CONTRACTS AND UNEXPIRED LEASES AND (B) THE FORM AND
  MANNER OF NOTICE THEREOF, (V) SCHEDULING THE AUCTION AND THE
  HEARING TO CONSIDER APPROVAL OF THE SALE, (VI) AUTHORIZING THE
       COMMITTEE TO RUN THE SALE PROCESS WITH THE DEBTORS’
           ASSISTANCE AND (VII) GRANTING RELATED RELIEF

             Upon of the motion (the “Motion”) of the Debtors and the Official Committee of

Unsecured Creditors (the “Committee,” and together with the Debtors, the “Movants”) for entry

of two orders:2

             (I)     An order (this “Bidding Procedures Order”):

                     (a)      approving the bidding procedures (the “Bidding Procedures”) in
                              substantially the form attached as Exhibit 1 hereto to govern the sale of all
                              or substantially all of the Debtors’ assets (the “Company Assets”) or
                              component thereof, pursuant to section 363 of the Bankruptcy Code;

                     (b)      approving the form and manner of notice of the Sale and the Bid Deadline
                              (defined below), substantially in the form attached as Exhibit 2 hereto (the
                              “Sale Notice”);

1
             The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
             identification number, are: Mountain Sports LLC (9597); SDI Gift Card LLC (9775); Bob’s Stores USA
             LLC (6115); SDI Stores LLC (4751); and Mountain Sports USA LLC (4036). The location of the Debtors’
             corporate headquarters is 160 Corporate Court, Meriden, CT 06450.
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             Capitalized terms used but not defined herein have the meaning ascribed to them in the Motion or the Bidding
             Procedures.
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               (c)     authorizing the Debtors, in accordance with the terms of the Bidding
                       Procedures, to select a bidder to act as a stalking horse bidder (a “Stalking
                       Horse Bidder”) and enter into a purchase agreement with any such Stalking
                       Horse Bidder (a “Stalking Horse Agreement”), which may provide for
                       certain bid protections, including a break-up fee, with the consent of the
                       Consultation Parties (defined below);

               (d)     approving (i) procedures (the “Assumption and Assignment
                       Procedures”) for the assumption and assignment of executory contracts
                       and unexpired leases (together, the “Contracts”) and (ii) the form and
                       manner of the notice (the “Cure Notice”) of assumption and assignment of
                       Contracts, including the form and manner of notice of proposed cure
                       amounts (the “Cure Amounts”) attached as Exhibit 3 hereto;

               (e)     scheduling the auction (the “Auction”), if any, and the hearing to consider
                       approval of the Sale (the “Sale Hearing”) and approving the form and
                       manner of notice thereof;

               (f)     authorizing the Committee to run the marketing and sale process with the
                       Debtors’ assistance using, inter alia, the Debtors’ Confidential Information
                       (defined below); and

               (g)     granting related relief.

       (II)    Entry of an order (the “Sale Order”):

               (a)     approving the Sale of the Company Assets or component thereof, free and
                       clear of all Interests (defined below);

               (b)     authorizing the assumption and assignment of certain Contracts; and

               (c)     granting related relief.

And upon the First Day Declaration, the Barton Declaration, and the Madden Declaration; and this

Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order; and this Court having found that this is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2); and this Court having found that it may enter a final order consistent with Article III

of the United States Constitution; and this Court having found that venue of this proceeding and

the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having

found that the relief requested in the Motion is in the best interests of the Debtors’ estates, their



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creditors, and other parties in interest; and this Court having found that the Debtors’ notice of the

Motion and opportunity for a hearing on the Motion were appropriate under the circumstances and

no other notice need be provided; and this Court having reviewed the Motion and having heard the

statements in support of the relief requested therein at a hearing before this Court (the “Hearing”);

and this Court having determined that the legal and factual bases set forth in the Motion and at the

Hearing establish just cause for the relief granted herein; and upon all of the proceedings had

before this Court; and after due deliberation and sufficient cause appearing therefor:

                 IT IS HEREBY FOUND AND DETERMINED THAT:3

        A.       The Bidding Procedures attached as Exhibit 1 are fair, reasonable, and appropriate,

and are designed to maximize the value to be achieved from the Sale.

        B.       The Assumption and Assignment Procedures provided for herein are fair,

reasonable, and appropriate and consistent with the provisions of section 365 of the Bankruptcy

Code.

        C.       The Movants have articulated good and sufficient business reasons for this Court

to approve: (i) the Bidding Procedures, including all related deadlines, the Auction, and Sale

Hearing with respect to the proposed Sale and the form and manner of notices related thereto;

(ii) the establishment of procedures to assume and assign the Contracts and fix the Cure Amounts

and the form and manner of notices related thereto; and (iii) the Debtors’ authorization, in

consultation with (a) the Committee and (b) PNC Bank, N.A. (“PNC,” and together with the

Committee, the “Consultation Parties”), to select a Stalking Horse Bidder and offer certain bid



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        The findings and conclusions set forth herein constitute this Court’s findings of fact and conclusions of law
        pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014.
        To the extent that any of the following findings of fact constitute conclusions of law, they are adopted as
        such. To the extent any of the following conclusions of law constitute findings of fact, they are adopted as
        such.



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protections with the consent of the Consultation Parties, which bid shall be subject to higher or

otherwise better offers as set forth in the Bidding Procedures.

       D.      The form and manner of service of the Sale Notice attached as Exhibit 2 hereto is

appropriate and reasonably calculated to provide all interested parties with timely and proper

notice of the Auction, the Sale, the Bidding Procedures, and the Assumption and Assignment

Procedures to be employed in connection therewith, including, without limitation: (i) the date,

time, and place of the Auction (if held); (ii) the Bidding Procedures and the dates and deadlines

related thereto; (iii) the objection deadline for the Sale and the date, time, and place of the Sale

Hearing; (iv) the identification of the Company Assets to be sold, which is comprised of the

Debtors’ assets associated with their two brands, Eastern Mountain Sports (“EMS,” and its assets,

the “EMS Assets”); and Bob’s Stores (“Bob’s,” and its assets, the “Bob’s Assets”); and

(v) representations describing the Sale as being free and clear of all liens, claims, interests, and

other encumbrances (collectively, “Interests”), with all such Interests attaching with the same

validity and priority to the proceeds of the Sale; and no other or further notice of the Sale shall be

required.

       E.      The Cure Notice attached hereto as Exhibit 3 is appropriate and reasonably

calculated to provide each non-debtor party to any Contracts (such parties, the “Non-Debtor

Counterparties”) with proper notice of the potential assumption and assignment of the applicable

Contract, the proposed Cure Amount, and the Assumption and Assignment Procedures. The

inclusion of any particular contract or lease on a Cure Notice shall not be deemed to be an

admission that such contract or lease is an executory contract or unexpired lease of property or

require or guarantee that such contract or lease will be assumed and/or assigned, and all rights of

the Debtors with respect to the foregoing are reserved.




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        F.        No further notice beyond that described in the foregoing paragraphs is required in

connection with the Sale.

        G.        The Movants have articulated good and sufficient business reasons for this Court

to authorize the Committee and its proposed financial advisors, Emerald Capital Advisors

(“Emerald”), to run the marketing and sale process with the Debtors’ assistance using the Debtors’

Confidential Information.4

        H.        The entry of this Bidding Procedures Order is in the best interests of the Debtors,

their estates, their creditors, and other parties-in-interest.

         NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND
DECREED THAT:

        1.        The Motion is granted as set forth herein.

        2.        All objections to the Motion or the relief provided herein, as they pertain to the

entry of this Bidding Procedures Order, that have not been withdrawn, waived, or settled, and all

reservations of rights included therein, are hereby overruled and denied on the merits.

                                           The Bidding Procedures

        3.        The Bidding Procedures are fully incorporated herein and approved in their

entirety. All dates and deadlines set forth in the Bidding Procedures are hereby established, subject




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    As used herein, “Confidential Information” shall mean: any nonpublic information of the Debtors, including,
    without limitation, information concerning the Debtors’ assets, liabilities, business operations, business practices,
    business plans, intellectual property and trade secrets, financial projections, financial and business analyses and
    compilations and studies relating to the foregoing and other documents prepared by the Debtors or their advisors
    or other agents. “Confidential Information” includes, without limitation: (i) any notes, summaries, compilations,
    presentations, memoranda, or similar written materials disclosing or discussing confidential information; (ii) any
    discussion or oral presentation of written confidential information, and (c) any other information conveyed orally
    that the Debtors or their advisors or other agents advise the Committee should be treated as confidential.
    Notwithstanding the foregoing, “Confidential Information” does not include any information that: (i) is or
    becomes generally available to the public or is or becomes available to the Committee on a non-confidential basis,
    is each case to the extent that such information becomes so available other than by a violation of a contractual,
    legal, or fiduciary obligation to the Debtors, or (ii) was in possession of the Committee prior to its disclosure by
    the Debtors and is not subject to any other duty or obligation to maintain confidentiality.



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to the terms of the Bidding Procedures. The Bidding Procedures shall govern the submission,

receipt, and analysis of all bids relating to the Sale under section 363 of the Bankruptcy Code. The

Debtors, in consultation with the Consultation Parties, are authorized to schedule the Auction in

connection with the Bidding Procedures.

       4.      In the event that any of the Debtors’ directors, managing members, equity holders,

parents or non-debtor affiliates, including, but not limited to, Roberts 50 USA, LLC, Bob’s EMS

Holdings LLC and GoDigital Media Group LLC or any of their respective affiliates (collectively,

the “Conflict Parties”) intend to present an Indication of Interest and/or make a Bid on the

Company Assets of the Debtors, any decisions permitted to be made by the Debtors under this

Bidding Procedures Order and the Bidding Procedures shall be made by David Barton without

consulting with, or receiving the approval of, the Conflict Parties. For the avoidance of doubt, in

such case, the Conflict Parties shall only be provided with, and have access to, the information

available, and provided, to other Potential Bidders, provided, however, that the Conflict Parties

will still receive limited operating information to the extent necessary to provide the Debtors with

back-office services that it cannot provide itself provided that such information will not provide a

materially unfair advantage in the bidding process to the Conflict Parties. If the Conflict Parties

affirmatively state that none of them intend to submit an Indication of Interest or Bid, then this

paragraph shall be inapplicable.

                           Assumption and Assignment Procedures

       5.      The following Assumption and Assignment Procedures shall govern the

assumption and assignment of the Contracts in connection with the Sale, and any objections related

thereto:

       a.      The Debtors shall file with this Court and serve the Cure Notice on each Non-
               Debtor Counterparty to each of the Contracts on or before July 23, 2024 via



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      overnight mail or email, if available, to the notice parties listed in the applicable
      Contract, and any counsel of record in these Chapter 11 Cases.

b.    In the event that the Debtors identify any Non-Debtor Counterparties that were not
      served with the Cure Notice, the Debtors may subsequently serve (by overnight
      mail) such Non-Debtor Counterparty with a Cure Notice, and the following
      procedures will nevertheless apply to such Non-Debtor Counterparty; provided,
      however, absent further order of this Court, the Cure Objection Deadline (defined
      below) with respect to such Non-Debtor Counterparty shall be 4:00 p.m. (prevailing
      Eastern Time) on the date that is seven (7) days following service of the Cure
      Notice.

c.    The Cure Notice served on each Non-Debtor Counterparty shall: (i) identify each
      Contract; (ii) list the Cure Amount the Debtors believe is required to be paid
      pursuant to the Bankruptcy Code in order to effectuate the assignment of the
      Contract; (iii) include a statement that the assumption and assignment of such
      Contract is neither required nor guaranteed; and (iv) inform such Non-Debtor
      Counterparty of the requirement to file any Cure Objections (defined below) by the
      Cure Objection Deadline (defined below). Service of a Cure Notice does not (x)
      constitute, and shall not be deemed, an admission that a particular Contract is an
      executory contract or unexpired lease of property, or (y) confirm that the Debtors
      are required to assume and/or assign such Contract.

d.    Objections (a “Cure Objection”), if any, to a scheduled Cure Amount must: (x) be
      in writing; (y) state with specificity the nature of such objection, including the
      amount of Cure Amount in dispute; and (z) be filed with this Court and properly
      served on the Debtors, the Consultation Parties, and the Notice Parties so as to be
      received no later than 4:00 p.m. (prevailing Eastern Time) on July 30, 2024
      (the “Cure Objection Deadline”), subject to subparagraph (b) above.

e.    Objections of any Non-Debtor Counterparty related solely to the identity of, and
      adequate assurance of future performance by, a Successful Bidder must (x) be in
      writing, (y) state with specificity the nature of such objection, and (z) be filed with
      this Court and properly served on the Debtors, the Consultation Parties, and the
      Notice Parties so as to be received no later than the Post-Auction Objection
      Deadline (defined below) unless otherwise ordered by this Court or agreed to by
      the Debtors and the Successful Bidder.

f.    Any Non-Debtor Counterparty to a Contract that fails to timely file and properly
      serve a Cure Objection or Post-Auction Objection, as provided herein, will: (i) be
      forever barred from objecting to the Cure Amount and from asserting any additional
      cure or other amounts with respect to such Contract in the event it is assumed and/or
      assigned by the Debtors, and the Debtors and the assignee of the Contract shall be
      entitled to rely solely upon the Cure Amounts scheduled on the Cure Notice; and
      (ii) be deemed to have consented to the assumption, assignment, and/or transfer of
      such Contract (including the transfer of any related rights and benefits thereunder)
      to the assignee and shall be forever barred and estopped from objecting to the


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               assumption or assignment of such Contracts to the assignee or asserting or claiming
               against the Debtors or the assignee that any additional pre-assignment amounts are
               due or defaults exist, or conditions to assumption, assignment, and/or transfer must
               be satisfied under such Contract, that any related right or benefit under such
               Contract cannot or will not be available to the assignee, or that the assignee failed
               to provide such Non-Debtor Counterparty with adequate assurance of future
               performance.

       g.      If a Non-Debtor Counterparty files an objection satisfying the requirements of these
               Assumption and Assignment Procedures that is not consensually resolved by the
               Sale Hearing, such unresolved objection shall not be considered at the Sale Hearing;
               and instead shall be considered at a subsequent hearing on at least seven (7) days’
               notice to the applicable Non-Debtor Counterparty, provided, however, any Contract
               that is the subject of a Cure Objection with respect solely to the amount of the Cure
               Amount may be assumed and assigned prior to resolution of such objection, so long
               as the Debtors or assignee, as applicable, (i) pay any undisputed Cure Amount on
               or about the date the Sale is consummated and (ii) appropriately reserve funding
               for the disputed portion of the Cure Amount pending resolution of the dispute.

       h.      The Debtors’ assumption and/or assignment of a Contract is subject to approval by
               this Court and consummation of the Sale. Absent entry of a Sale Order approving
               the assumption and/or assignment of the Contracts and consummation of the Sale,
               the Contracts shall be deemed neither assumed nor assigned, and shall in all
               respects be subject to subsequent assumption or rejection by the Debtors.

       i.      The Debtors may only assume and assign contracts and non-residential real
               property leases to the extent such are deemed executory contracts and unexpired
               leases under section 365 of the Bankruptcy Code.

                                        Notice Procedures

       6.      The Sale Notice in the form attached hereto as Exhibit 2 is approved, and the

Debtors are authorized to make non-substantive or immaterial changes to the Sale Notice or to fill

in missing information, in each case to the extent not inconsistent with this Bidding Procedures

Order, prior to service of the Sale Notice.

       7.      One business day after entry of this Bidding Procedures Order, the Debtors will

(i) serve the Sale Notice on the (a) all entities known to have expressed a bona fide interest in a

transaction with respect to the Company Assets or component thereof; (b) all entities known to

have asserted any lien, claim, or encumbrance in or upon any assets comprising the Company



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Assets; (c) all federal, state, and local environmental, regulatory, or taxing authorities or recording

offices which have a reasonably known interest in the relief requested by the Motion; (d) known

counterparties to any unexpired leases or executory contracts that could potentially be assumed

and assigned to a Successful Bidder; (e) the Office of the United States Trustee for the District of

Delaware; (f) all taxing authorities having jurisdiction over any of the Company Assets, including

the Internal Revenue Service; (g) the Securities and Exchange Commission; (h) the Offices of the

United States Attorney for the District of Delaware; (i) the Conflict Parties; and (j) all persons and

entities that have filed a request for service of filings in these chapter 11 cases pursuant to

Bankruptcy Rule 2002 (collectively, the “Sale Notice Parties”) and (ii) cause a form of the Sale

Notice and the Bidding Procedures Order to be posted on the Debtors’ website maintained by Epiq

Corporate Restructuring, LLC (“Epiq”), the Debtors’ claims and noticing agent.

       8.      No other or further notice of the Sale, the Auction, the Sale Hearing, or the Sale

Objection Deadline shall be required. Service of the Sale Notice as set forth herein is deemed to

satisfy the notice requirements under Bankruptcy Rules 2002, 6004, and 6006, as well as Local

Rule 6004-1, and to otherwise comply in all respects with applicable provisions of the Bankruptcy

Code, Bankruptcy Rules, and Local Rules.

       9.      The Debtors shall file a notice on this Court’s docket identifying the Successful

Bidder and any Backup Bidder by 12:00 noon (prevailing Eastern Time) on August 23, 2024.

       10.     The form of Cure Notice attached hereto as Exhibit 3 and the Assumption and

Assignment Procedures set forth herein are approved and are deemed to be sufficient to provide

effective notice to the Non-Debtor Counterparties of the Debtors’ intent to potentially assume and

assign some or all of the Contracts and the Debtors’ proposed Cure Amounts. Such notice is

deemed to satisfy the notice requirements under Bankruptcy Rules 2002, 6004, and 6006, as well




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as Local Rule 6004-1, and to otherwise comply in all respects with applicable provisions of the

Bankruptcy Code, Bankruptcy Rules, and Local Rules.

                                     Sale Process Termination

       11.     Indication of Interest Deadline. As further described in the Bidding Procedures,

the Indication of Interest Deadline (as defined in the Bidding Procedures) is 4:00 p.m. (prevailing

Eastern Time) on August 2, 2024.

       12.     By the Indication of Interest Deadline, the Debtors must receive at least one binding

Indication of Interest that (any such Indication of Interest, a “Qualified IOI”): (i) provides for

consideration for the applicable Company Assets in excess of the projected liquidation value of

the Company Assets as reasonably agreed upon by the Debtors, the Committee and PNC (the

“Liquidation Value”) and (ii) meets the requirements for a Qualified Bid, but may submit a

binding term sheet in lieu of an asset purchase agreement.

       13.     Going Concern Sale Process Termination Date. If the Debtors do not receive a

Qualified IOI by the Indication of Interest Deadline, the sale process contemplated by this Bidding

Procedures Order shall terminate (the “Going Concern Sale Process Termination”). Upon the

Going Concern Sale Process Termination, the Debtors shall seek entry of a final order granting the

Debtors’ Motion for Entry of an Interim and Final Order (a) Authorizing the Debtors to Enter Into

the Disposition Agreement; (b) Authorizing and Approving the Sale of Inventory and Other Assets

Free and Clear of All Liens, Claims, and Encumbrances; (c) Scheduling Final Hearing and

(d) Granting Related Relief [D.I. 55] (the “Disposition Motion”) and authorizing going-out-of-

business sales at all of the Debtors’ locations.

       14.     Bob’s Sale Process Termination Date. If the Debtors receive Qualified IOIs by the

Indication of Interest Deadline and none of the Qualified IOIs contemplate the purchase of the




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Bob’s Assets, the sale process contemplated by this Bidding Procedures Order shall terminate as

to Bob’s Assets (the “Bob’s Sale Process Termination”).              Upon the Bob’s Sale Process

Termination, the Debtors shall continue their full liquidation of Bob’s Assets, pursuant to the

order granting the Disposition Motion.

             Auction, Hearing regarding Title to Certain Assets, and Sale Hearing

       15.     Bid Deadline. As further described in the Bidding Procedures, the deadline for

Bids is 4:00 p.m. (prevailing Eastern Time) on August 20, 2024. No Bid shall be deemed to be

a Qualified Bid unless such Bid meets the requirements set forth in the Bidding Procedures.

       16.     PNC Credit Bid. PNC shall be entitled to make a credit bid (a “Credit Bid”) in

accordance with section 363(k) of the Bankruptcy Code at any Auction for Assets comprising

PNC’s collateral, absent further order of this Court. PNC shall be deemed a Qualified Bidder and

any Credit Bid it submits in compliance with the Bidding Procedures shall be deemed a Qualified

Bid.

       17.     Sale Objection Deadline. Subject to paragraph 25, the Sale Objection Deadline is

4:00 p.m. (prevailing Eastern Time) on August 6, 2024. For the sake of clarity, any party

claiming an interest in any of the Debtors’ intellectual property, customer lists and data, inventory,

or other Asset shall file a Sale Objection by the Sale Objection Deadline, and attach as an exhibit

any evidence of such interest in the Assets, or shall otherwise be barred and estopped from

asserting (a) any interest in, disputing that the Debtors hold exclusive title to, such Assets and (b)

that the Debtors have the ability to transfer such Assets free and clear of the claims or interests

without the consent of any party (other than PNC as secured party with respect to such Assets, as

applicable) (such Sale Objection, a “Title Objection”); provided, however, that PNC shall not be

required to file a Title Objection to assert its security interest in and lien on such Assets. A Sale




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Objection must be filed with this Court and served in the manner set forth below so as to be actually

received no later than the Sale Objection Deadline.

       18.     Title Objection Hearing. The hearing to resolve Title Objections shall take place on

August 8, 2024 at 10:30 a.m. (prevailing Eastern Time) (the “Title Objection Hearing”). At the

Title Objection Hearing, the Debtors, together with PNC and the Committee, will seek a

determination that no party holds any interest in any of the Debtors’ intellectual property, customer

lists and data, inventory, or other Asset (other than PNC as secured party with respect to such

Assets, as applicable).

       19.     Auction; Cancellation of Auction. Depending on the Bids received in accordance

with the Bidding Procedures, the Debtors may conduct an Auction for the proposed Sale. If at

least one Qualified Bid is received in accordance with the Bidding Procedures with regard to the

Company Assets or component thereof, the Debtors shall be permitted to hold the Auction in

accordance with the Bidding Procedures, which shall take place on August 22, 2024 at 10:00 a.m.

(prevailing Eastern Time), at such place, including by remote video, as the Debtors shall

designate, in consultation with the Consultation Parties.       In the event that the Debtors, in

consultation with the Consultation Parties, designate a later time or place for the Auction, they

shall (i) notify all Qualified Bidders (as defined in the Bidding Procedures) who have submitted

Qualified Bids, and (ii) file notice of such change with this Court. Only (a) Qualified Bidders

(including the Stalking Horse Bidder, if any) and their legal and financial advisors, (b) the

Consultation Parties, and (c) actual creditors of the Debtors (provided that they give at least 48

hours’ notice to the Debtors’ counsel and Committee’s counsel of their intention to attend an

Auction via email to (i) Goldstein & McClintock LLLP, Attn: Maria Aprile Sawczuk

(marias@goldmclaw); and Matt McClintock (mattm@goldmclaw.com) and (ii) Lowenstein




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Sandler      LLP,   Attn:   Jeffrey   Cohen     (jcohen@lowenstein.com),       Brent    Weisenberg

(bweisenberg@lowenstein.com), and Erica Mannix (emannix@lowenstein.com), shall be entitled

to attend an Auction.

       20.      In the event that (i) the Debtors, in consultation with the Consultation Parties,

designate a Stalking Horse Bidder and enter into a Stalking Horse Agreement, if no Qualified Bids

other than the Stalking Horse Bid are received in accordance with the Bidding Procedures, or (ii) in

the absence of a Stalking Horse Bidder, only one Qualified Bid is received, then the Debtors may

decide, in the Debtors’ reasonable business judgment and in consultation with the Consultation

Parties, to cancel the Auction and designate the Stalking Horse Bid or Qualified Bid as the

Successful Bid (as defined in the Bidding Procedures) and pursue entry of an order approving a

Sale to the Stalking Horse Bidder pursuant to the Stalking Horse Agreement.

       21.      If the Auction is cancelled, the Debtors shall promptly file a notice cancelling the

Auction and designating the Stalking Horse Bid or Qualified Bid as the Successful Bid, if

applicable, no later than August 23, 2024 at 12:00 noon (ET).

       22.      Each Qualified Bidder participating in the Auction will be required to confirm on

the record at the Auction, that (i) it has not engaged in any collusion with respect to the Bidding

Procedures and the Auction, (ii) its Qualified Bid is a good faith bona fide offer that it intends to

consummate if selected as the Successful Bidder or Backup Bidder, and (iii) the Qualified Bidder

agrees to serve as the Backup Bidder if its Qualified Bid is the next highest or otherwise best bid

after the Successful Bid.

       23.      Notice for Non-Debtor Counterparties. As soon as reasonably practicable after

closing the Auction, if any, and in any event not more than one business day following closing the

Auction and no later than 12:00 noon (ET) on August 23, 2024, the Debtors shall cause a notice




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of Successful Bid and Successful Bidder, and the Qualified Bid Documents for the Successful Bid

and Backup Bid to be filed with the Court.

       24.     Sale Order. The Debtors shall file the form of proposed Sale Order with the Court

no later than August 23, 2024 at 4:00 p.m. (ET).

       25.     Post-Auction Objection Deadline. The deadline to object only to (i) the conduct at

the Auction (if held); (ii) the form of Sale Order; or (iii) solely with respect to the Non-Debtor

Counterparties to the Contracts, to the specific identity of and adequate assurance of future

performance provided by the Successful Bidder (only if such Successful Bidder is not a Stalking

Horse Bidder) (such a limited objection, a “Post-Auction Objection”) is 4:00 p.m. (prevailing

Eastern Time) on August 27, 2024 (the deadline, the “Post-Auction Objection Deadline”).

       26.     Sale Hearing. The Sale Hearing shall take place on August 29, 2024 at 10:30 a.m.

(prevailing Eastern Time). At the Sale Hearing, the Debtors will seek the entry of the Sale Order

approving and authorizing the Sale to the Successful Bidder. The Sale Hearing (or any portion

thereof) may be adjourned by this Court or the Debtors, in consultation with the Consultation

Parties, from time to time without further notice other than by announcement in open court or

through the filing of a notice or other document on this Court’s docket.

                                      Objection Procedures

       27.     Any party that seeks to object to the proposed Sale or related relief must file a

formal written objection that complies with the objection procedures set forth herein.

       28.     Objections, if any, must be: (i) in writing; (ii) signed by counsel or attested to by

the objecting party; (iii) in conformity with the applicable provisions of the Bankruptcy Rules and

the Local Rules; (iv) state with particularity the legal and factual basis for the objection and the

specific grounds therefor; (v) be filed with this Court; and (vi) served on the Debtors, the




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Committee, and the Notice Parties, in each case so as to be received no later than the Sale Objection

Deadline, Cure Objection Deadline, or the applicable Post-Auction Objection Deadline

(collectively, the “Deadlines”), as applicable.

       29.     Failure to file an objection on or before the applicable Deadline (i) shall forever bar

the assertion, whether at any Sale Hearing or thereafter, of any objection to the Motion, to entry of

the Sale Order, and/or to the consummation and performance of the Sale with a Successful Bidder,

and (ii) for purposes of section 363(f)(2) of the Bankruptcy Code, shall be deemed to be “consent”

to entry of the Sale Order and consummation of the Sale related thereto free and clear of any

interest in the Company Assets or component thereof as contemplated by the Sale.

  Approval of Designation of Stalking Horse Bidder, Bid Protections and Backup Bidder

       30.     Pursuant to the Bidding Procedures, the Debtors, in consultation with the

Consultation Parties, are authorized, but not directed, to select a bidder to act as the Stalking Horse

Bidder for the Company Assets, or any component thereof, and enter into a Stalking Horse

Agreement with the Stalking Horse Bidder so selected.

       31.     In the event that the Debtors enter into a Stalking Horse Agreement, within one (1)

business day of entering into such agreement, the Debtors shall file with the Court and serve on

the Sale Notice Parties, a notice (the “Stalking Horse Notice”) which shall include, among other

things: (i) the identification of the Stalking Horse Bidder; (ii) a copy of the Stalking Horse

Agreement; (iii) the amount of the deposit paid by the Stalking Horse Bidder and (iv) if Bid

Protections (defined below) are included in the Stalking Horse Agreement, the additional

documents and information required by paragraph 33.

       32.     The Debtors are authorized, in connection with a Stalking Horse Agreement, to

offer bid protections to a Stalking Horse Bidder with the consent of the Consultation Parties.




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Absent further order of the Court, any Stalking Horse Agreement shall limit a (i) Break-Up Fee of

up to an aggregate of three percent (3%) of the total cash consideration offered for any Stalking

Horse Bid and (b) Expense Reimbursement (together, the Break-Up Fee and the Expense

Reimbursement shall be referred to as the “Bid Protections”) actually incurred by a Stalking

Horse Bidder in connection with its bid, not to exceed $50,000; provided, however, that no Break-

Up Fee or Expense Reimbursement in any amount are being approved herein and any such

approval shall be subject to further order of this Court as set forth herein.

       33.     Notwithstanding anything in the Bidding Procedures or the Bidding Procedures

Order to the contrary, to the extent the Debtors, with the consent of the Consultation Parties,

determine to offer Bid Protections to any Stalking Horse Bidder, the Debtors shall disclose such

Bid Protections in the Stalking Horse Notice. The Stalking Horse Bidder Notice, if filed, shall

include an appropriate declaration in support of the proposed Bid Protections (the “Bid

Protections Declaration”) and a proposed form of order approving the Bid Protections (the “Bid

Protections Order”). Any objection to (i) the Bid Protections set forth in the Stalking Horse

Notice and Bid Protections Declaration or (ii) the form of the Bid Protections Order (a “Bid

Protections Objection”) shall be filed no later than three days after the Bid Protections

Declaration is filed. The Stalking Horse Notice and Bid Protections Declaration shall set forth the

reasons the Debtors believe the Bid Protections satisfy the requirements of section 503(b) of the

Bankruptcy Code. For the avoidance of doubt, nothing in the Bidding Procedures Order is shifting

the Debtors’ burden of proof that the Bid Protections are actually necessary to preserve the value

of the estates pursuant to section 503(b) of the Bankruptcy Code. If a timely Bid Protections

Objection is filed, the Debtors will schedule a hearing in consultation with any objecting parties,

the Consultation Parties, and the Court. Absent any timely Bid Protections Objection, the Court




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may enter the Bid Protections Order without further hearing.

       34.     Any Bid Protections incurred by the Debtors will be payable to the Stalking Horse

Bidder, in the event the Stalking Horse Bidder is not a successful bidder, solely from the proceeds

of the cash portion of the purchase price of the successful bid upon Closing.

                   Authorization of the Sale Process Run by the Committee

       35.     The Committee, through Emerald, shall be authorized to conduct the process to

market the Debtors’ assets for a going concern sale through and including Sale Closing Deadline

in accordance with the Bidding Procedures. In connection therewith, the Debtors will provide

Emerald with reasonable access to the data room and any and all documents that Emerald believes

are relevant to such going concern sale process and, in general, cooperate with the Committee’s

efforts and due diligence requests by interested parties.

       36.     The Committee and its professionals (in addition to the Debtors and their

professionals) shall be authorized and permitted to disseminate Confidential Information to third

parties potentially interested in purchasing any or all of the Company Assets, subject to the terms

and conditions below.

       37.     Before the Committee or its professionals may disseminate Confidential

Information to any third parties for the purpose of soliciting bids, the Committee shall provide the

Debtors with one business days’ notice of its intention to disseminate such information in such

notice, the Committee shall set forth the identity of the intended recipient and the general

categories of information to be supplied to such recipient, together with a copy of a confidentiality

agreement executed by such recipient.

       38.     Unless the Committee receives a written objection from the Debtors (which may

be made via e-mailed correspondence) to the notice of intention to supply Confidential




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Information, including the basis for any such objection, the Committee shall be authorized to

proceed with the dissemination of such confidentiality agreement to interested third parties.

         39.    If the Committee receives a written objection, the Committee and the Debtors shall

endeavor in good faith to resolve any disputed issues. If unsuccessful, the matter shall be presented

jointly by the parties to the Court on an expedited basis. No Confidential Information shall be

provided to a third-party pending resolution of the objection either consensually or by order of the

Court.

         40.    The Committee’s advisors shall be permitted and authorized to participate in all

aspects of the sale process, including, but not limited to: (i) all in-person and telephonic meetings

with management, including management presentations, receive copies of any written materials

provided in connection with the same and be provided with reasonable access to management in

connection with the Committees’ and Debtors’ sale process, (ii) receive all correspondence from

potential bidders within one business day of receipt by the Debtors or their advisors, (iii) participate

in bi-weekly sale process update calls with the Debtors or their advisors, (iv) receive bi-weekly,

written updates from the Debtors or their advisors concerning potential bidders contacted and the

status of each contact, and (v) receive bi-weekly data-room statistics, to the extent available, as

reasonably requested by the Committee’s advisors.

                                       Other Relief Granted

         41.    Absent a subsequent order of this Court to the contrary, this Bidding Procedures

Order shall be binding in all respects upon any trustees, examiners, “responsible persons,” or other

fiduciaries appointed in the Chapter 11 Cases or upon a conversion to chapter 7 under the

Bankruptcy Code.




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        42.     Nothing herein shall be deemed to or constitute the assumption, assignment,

assumption and assignment, or rejection of any executory contract or unexpired lease.

        43.     Notwithstanding any provision in the Bankruptcy Rules to the contrary, the stays

provided for in Bankruptcy Rules 6004(h) and 6006(d) are waived and this Bidding Procedures

Order shall be effective immediately and enforceable upon its entry.

        44.     Notwithstanding anything to the contrary in this Bidding Procedures Order, the

Bidding Procedures, or the Assumption and Assignment Procedures, the Debtors, with the consent

of the Consultation Parties, may extend or seek an extension from this Court, the deadlines set

forth in this Bidding Procedures Order or the Bidding Procedures, including, but not limited to,

the Bid Deadline (as this term is defined in the Bidding Procedures).

        45.     All persons or entities (whether or not a Qualified Bidder) that participate in the

bidding process will be deemed to have knowingly and voluntarily (i) consented to the entry of a

final order by this Court in connection with the Motion to the extent that it is later determined that

this Court, absent consent of the parties, cannot enter final orders or judgments in connection

herewith consistent with Article III of the United States Constitution and (ii) waived any right to

jury trial in connection with any disputes relating to the any of the foregoing matters.

        46.     In the event of any conflict between this Bidding Procedures Order and the Motion

and/or the Bidding Procedures, this Bidding Procedures Order shall govern in all respects.

        47.     This Court shall retain exclusive jurisdiction over any matters related to or arising

from the implementation, interpretation, and enforcement of this Bidding Procedures Order.




Dated: July 23rd, 2024                                MARY F. WALRATH
Wilmington, Delaware                                  UNITED STATES BANKRUPTCY JUDGE

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